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6                               UNITED STATES DISTRICT COURT

7                                      DISTRICT OF NEVADA

8                                                ***

9     DANIEL S. PORTER,                                   Case No. 3:22-cv-00089-RCJ-CLB

10                                      Petitioner,                     ORDER
             v.
11
      GARRETT, et al.,
12
                                    Respondents.
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14          Daniel S. Porter has submitted a pro se petition for writ of habeas corpus,

15   pursuant to 28 U.S.C. § 2254 (ECF No. 1-1). He has not, however, either paid the

16   $5.00 filing fee or submitted a completed application to proceed in forma pauperis with

17   the required inmate account statements for the past sixth months and financial

18   certificate. 28 U.S.C. § 1915(a)(2); Local Rule LSR1-2.

19          This action therefore is subject to dismissal without prejudice as improperly

20   commenced. However, it is unclear from the papers presented whether a dismissal

21   without prejudice will materially affect a later analysis of any timeliness issue with

22   respect to a new action.

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1
             IT IS THEREFORE ORDERED that within 30 days of the date of this order
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     petitioner must submit either the $5.00 filing fee or a fully completed application to
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     proceed in forma pauperis.
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             IT IS FURTHER ORDERED that failure to do so may result in the dismissal of
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     this action without prejudice.
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             IT IS FURTHER ORDERED that the Clerk of Court retain the petition but not file
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     it at this time.
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             DATED: 8 March 2022.
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                                                      ROBERT C. JONES
11                                                    UNITED STATES DISTRICT JUDGE

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